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    CO., LTD., SAMSUNG ELECTRONICS
 AMERICA, INC. and SAMSUNG
    TELECOMMUNICATIONS AMERICA, LLC


                             UNITED STATES DISTRICT COURT

               NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

 APPLE INC., a California corporation,        CASE NO. 11-cv-01846-LHK

               Plaintiff,                     DECLARATION OF TÜLIN ERDEM IN
                                                 SUPPORT OF SAMSUNG’S OPPOSITION
        vs.                                   TO APPLE’S MOTION FOR A
                                                 PERMANENT INJUNCTION
 SAMSUNG ELECTRONICS CO., LTD., a
    Korean business entity; SAMSUNG
 ELECTRONICS AMERICA, INC., a New             FILED UNDER SEAL
    York corporation; SAMSUNG                         PUBLIC
                                                 HIGHLY       REDACTED
                                                        CONFIDENTIAL-
 TELECOMMUNICATIONS AMERICA,                  ATTORNEYS’ EYES
                                                          VERSIONONLY
    LLC, a Delaware limited liability company,

                  Defendants.


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                                                                 Case No. 11-cv-01846-LHK
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 1          I, TÜLIN ERDEM, declare as follows:
  I.      QUALIFICATIONS AND STATEMENT OF ASSIGNMENT
                 A.      Qualifications
          1.     I am the Leonard N. Stern Professor of Business Administration and Professor of
  Marketing at the Stern School of Business, New York University. I previously served as the Co-

  Director of the Center for Digital Economy Research and the Director of the Stern Center for

  Measurable Marketing.

          2.     Before joining the Stern School of Business in 2006, I was the E.T. Grether
  Professor of Business Administration and Marketing at the Haas School of Business, University of

 California at Berkeley. I joined the Haas School of Business in 1993 and served as the Associate

 Dean for Academic Affairs and the Marketing Group Chair, the Ph.D. Director at the Haas School

 of Business and the Chair of the campus-wide Committee on Research (COR) at the University of

 California, Berkeley. I was also the Berkeley representative at the University of California

 system-wide Committee on Research.

         3.     I hold a BA from                    
 Business Administration, with a major in marketing and minors in economics and statistics, from

 the University of Alberta. My research interests include advertising, brand management and

 equity, consumer behavior and choice, decision-making under uncertainty, econometric modeling,

 marketing mix effectiveness, marketing research and pricing. I have published several papers in

 top field journals and have received best paper awards, as well as major research grants, including

 two major National Science Foundation (NSF) grants.

         4.     I served as the editor-in-chief of the Journal of Marketing Research, the preeminent
 academic journal of the American Marketing Association, which publishes work on consumer

 behavior, marketing science models, marketing strategy and marketing research methodologies. I

 also served as an Area Editor at Marketing Science and Associate Editor at Quantitative Marketing

 and Economics and the Journal of Consumer Research. I serve as an editorial board member of

 many scholarly journals, including Journal of Consumer Research, Journal of the Academy of

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 1 Marketing Science, Marketing Letters and International Journal of Research in Marketing. I also
  was the President of the INFORMS Marketing Society (ISMS).

          5.      As a professor, I have taught branding, brand and product management, marketing
  management and international marketing in undergraduate, MBA and executive education

  programs. I also have taught doctoral seminars on consumer choice modeling and empirical

  modeling.

          6.      From 2008 to 2012, I was an Academic Partner at Prophet, a branding and
  marketing consultancy firm.

          7.      A complete list of my publications, honors, awards and professional activities is
 provided in my CV, attached in Exhibit 1.

                 B.     Assignment
         8.      I have been retained by Quinn Emanuel Urquhart & Sullivan, LLP on behalf of
 Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

 Telecommunications America, LLC (collectively, “Samsung”) in this matter to provide this

 declaration and, if needed, testimony relating to Apple, Inc.’s (“Apple”) request for a permanent

 injunction that would exclude a number of Samsung smartphones and tablets from the U.S. market

 due, in part, to the alleged infringement of three utility patents owned by Apple. The three utility

 patents at issue in this proceeding are: (1) United States Patent No. 7,844,915 (“the ’915 patent”);

 (2) United States Patent No. 7,864,163 (“the ’163 patent”); and (3) United States Patent No.

 7,469,381 (“the ’381 patent”).

         9.      My assignment is to explain, based on my expertise and the materials that I have
 reviewed, consumer decision-making in connection with the purchase of complex devices

 containing numerous, multi-level features/attributes (e.g., a smartphone or tablet). I will explain,

 based on my expertise and the materials I have reviewed, the kinds of features/attributes that drive

 consumer demand in the smartphone and tablet markets. Specifically, I have been asked to focus

 on whether the Apple utility patents at issue in its permanent injunction motion (the ‘915, the ‘163

 and the ‘381 patents) drive consumer demand for Samsung smartphones and tablets when

 compared to non-infringing alternatives to those patents.
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 1            10.    Counsel has provided me with the descriptions/animations of Apple’s three utility
  patents used by Professor John R. Hauser in his conjoint analysis. 1 Counsel also has provided me

  with a Galaxy SII Epic 4G Touch device so that I can examine the design-arounds on the ‘381 and

  ‘163 patents. Based on this and the other materials provided, I was asked to determine what

  conclusions I can reach regarding the likely effect (if any) on consumer decision-making of

  products being offered with the functionalities included in Prof. Hauser’s survey as opposed to the

  design-around functionalities.

            11.    In connection with the assignment, I will assume that Prof. Hauser’s representation
  of the Apple patents in his survey is accurate (although I understand that Samsung disputes this). I

 will rely on the information and descriptions contained in the declarations of Mr. Stephen Gray

 and Dr. Andries van Dam as accurate reflections of Samsung’s preferred non-infringing

 alternatives.

           12.    In preparing this report, I have reviewed documents produced by both Samsung and
 Apple, as well as the testimony of certain Apple witnesses. A list of materials that I relied upon in

 reaching my conclusions is provided in Exhibit 2.

           13.    At any hearing on this motion, I expect to use exhibits in support of my testimony
 consisting of documents produced during discovery of this case, or excerpts or enlargements of

 them. I also expect to prepare and use demonstrative exhibits to help me to explain opinions that

 are contained in this declaration. In the event I am provided with additional relevant materials, I

 reserve the right to supplement this declaration with additional conclusions, bases, and/or

 supporting material.

           14.    I am compensated at my standard rate of $900 per hour, plus expenses, for my
 work in this case. The opinions I express in no way are contingent on the compensation I will

 receive.

 II.       OVERVIEW OF OPINION
           15.    In forming my opinions,
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          1
              Expert Report of John R. Hauser, March 22, 2012 (“Hauser Report”).

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 1                 a.      I have applied well-accepted and published theories and conceptual
                         frameworks in marketing (such as conceptual frameworks of consumer
                         decision-making).
                 b.      I have relied upon Apple and Samsung internal marketing research
                         documents, other marketing materials produced in this case, as well as my
                         own background research about the industry and industry reports, to apply
                         these frameworks to the facts at issue in the case.
          16.    Based on my expertise in consumer decision-making and choice, as well as the
  materials I reviewed, my opinions can be outlined as follows:

                i.      Smartphones and tablets incorporate numerous features/attributes, each of
                which consists of many sub-features and/or contributing elements.
                ii.     In making purchase decisions concerning smartphones and tablets,
                consumers base their decisions on only a subset of all of the available
                features/attributes (rather than the set of all features/attributes and sub-features).
                The relevant set of determinative features/attributes and the manner in which they
                are weighed vary across consumers. In considering the purchase of a smartphone
                or tablet, consumers do not separately evaluate each sub-feature.
                iii.    Apple’s utility patents at issue in its motion (the ‘915, the ‘163 and the ‘381
                patents) relate to three functionalities that are properly considered a subset (or “sub-
                feature”) of a main feature/attribute of a smartphone or tablet.
                iv.     The functionalities embodied in these three patents are not independently or
                separately considered in consumer purchase decisions and do not drive consumer
                demand for Samsung smartphones and tablets.
                iv.     From the consumer’s perspective, the functionalities provided by design-
                arounds that are available to Samsung for the functionalities embodied by the
                patents at issue perform the relevant functions in ways that are indiscernible or
                minimally discernible to the end consumer compared to the use of the patents at
                issue. Given that these three functionalities do not drive consumer demand,
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 1                    different (and minor) variations of how these functionalities are offered (i.e., as
                    implemented through available design-arounds) cannot be expected drive consumer
                    demand either.
  III.       PATENTS-AT-ISSUE
                    A.     ’915 Patent
             17.    Issued on November 30, 2010, the ‘915 patent is entitled “Application
  Programming Interfaces for Scrolling Operations.” 2 Based on my review of the Declaration of

  Stephen Gray dated October 18, 2012, I understand that the ‘915 patent covers a specific

  technique for distinguishing between scrolling and zooming operations on a touchscreen device,

 and the technique requires a specific test to be performed in the Android software. For example,

 scrolling moves the content on the touchscreen the same direction the user moves her finger, and

 zooming makes the content smaller or larger depending on whether a user moves her fingers

 closer together or farther apart. It is my understanding that Apple has accused the Web Browser

 application in Samsung’s smartphones/tablets of infringement.

            18.    It is my understanding that Samsung’s software has been modified to remove the
 specific test required by the ’915 patent. The design-around software uses a different technique to

 allow for scrolling and zooming operations. Although the software has been changed, I

 understand from the Gray Declaration that the user experience remains essentially the same. That

 is, a user will still be able to scroll with a single finger and zoom with two fingers using the

 design-around software.

                   B.     ’163 Patent
            19.    Issued on January 4, 2011, the ‘163 patent is entitled, “Portable Electronic Device,
 Method, and Graphical User Interface for Displaying Structured Electronic Documents.” 3

            20.    Based on my review of the Gray Declaration, I understand that the ‘163 patent
 covers the following two steps. First, a user taps (or double taps) on a first box of content on a

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           2
            U.S. Patent 7,844,915.
           3
               U.S. Patent 7,864,163.

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 1 touchscreen (e.g., an article on the New York Times webpage). In response, the first box of
  content is enlarged and substantially centered on the touchscreen. Second, after the first box of

  content has been enlarged and centered, the user taps (or double taps) on a second box of content

  (e.g., a second article that appears below the first article on the New York Times webpage). In

  response, the second box of content is substantially centered on the touchscreen. It is my

  understanding that Apple has accused the Web Browser application in Samsung’s

  smartphones/tablets of infringement.

          21.     I understand from the Gray Declaration that Samsung has implemented a design-
  around to avoid the practice of the ‘163 patent. Under the design-around, when a user single taps

 on the second box, nothing happens. If the user double taps on the second box, the entire webpage

 zooms out. In both cases, the second box is not substantially centered on the touchscreen as a

 result of the second tap/double tap. In preparing this declaration, I used a smartphone that

 included this design-around functionality.

                 C.     ’381 Patent
         22.     Issued on December 23, 2008, the ‘381 patent is entitled, “List Scrolling and
 Document Translation, Scaling, and Rotation on a Touch-Screen Display.” 4

         23.     Based on my review of the Declaration of Andries van Dam dated October 18,
 2012, I understand that '381 patent claims a snap-back functionality where, if the user translates an

 electronic document beyond the edge of that document, an area beyond that edge will be

 displayed. When the user lifts her finger from the touch screen, the document will snap back, such

 that no area beyond the edge of the document remains in view. It is my understanding that Apple

 has accused the Gallery, Web Browser and Contacts applications in Samsung’s

 smartphones/tablets of infringement.

         24.     I understand from the van Dam Declaration that the “blue glow” feature designs
 around the ‘381 patent. Under this design-around, when the user scrolls to the edge of a

 document, the document comes to a stop and a blue glow animation appears near the edge of the


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            U.S. Patent 7,469,381.

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 1 document. An area beyond the edge of the document never appears. When the user lifts her
  finger, the blue glow disappears. In preparing this declaration, I used a smartphone that included

  this design-around functionality.

  IV.       CONCEPTUAL FRAMEWORK
                  A.     Product Features, Attributes and Benefits
            25.   Products can be conceptualized as bundles of attributes (alternately called features)
  that provide benefits or costs (such as price) to consumers. 5 Benefits associated with those

  attributes sought by consumers could be functional (e.g., acceleration in a car),

  emotional/experiential (e.g., how driving a certain brand of car can make the driver feel excited

 and exhilarated) and/or self-expressive/symbolic (e.g., one consumer may express her frugality or

 patriotism by owning a Saturn; another consumer may express her being hip and well-to-do by

 owning a BMW). 6

           26.   Some attributes (such as quality) are vertically differentiated rather than being
 horizontally differentiated. Vertical attributes of products are ones that consumers would prefer

 more of, ceteris paribus (that is, keeping everything else constant). For example, keeping

 everything else including price constant, people would prefer higher quality over lower quality.

 This is not true for horizontally differentiated product attributes. Some people may prefer butter

 with popcorn, some may not; some may prefer one color over another. 7

           27.   A “brand” is defined as “a name, term, sign, symbol, or design, or combination of
 them, which is intended to identify the goods or services of one seller or group of sellers and to

 differentiate them from those of competitors.” 8 Brand franchise 9 refers to consumer loyalty


          5
         Lancaster, Kelvin (1966), “A New Approach to Consumer Theory,” Journal of Political
    Economy, 74, 132-157.
     6
            Aaker, David A. (1991). Managing Brand Equity. New York: The Free Press.
        7
            Tirole, J. (1990). The Theory of Industrial Organization. Cambridge, MA: MIT Press.
     8
            Kotler, Philip (1997). Marketing Management. New Jersey: Prentice Hall, p.443.
        9
         Franchise also has a specific meaning in channels and distribution. It refers to the
    arrangement between a brand name manufacturer and a wholesaler or retailer that gives the
 wholesaler or retailer the exclusive right to sell the brand manufacturer's product in a specific
    territory. This arrangement is usually established by contractual agreement over a period of time.
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 1 toward a brand. All the products sold under the same brand name, that is, products that share the
  same “umbrella brand,” 10 are part of a brand’s franchise since consumer loyalty is geared towards

  all the products under the same brand name.

                  B.      Consumer Decision Processes & Purchase Behavior
          28.     Consumer decision processes in regard to consumer purchases or choices are
  typically conceptualized to have five steps: need arousal, information search, evaluation, purchase

  and post-purchase. 11 Factors such as the degree of involvement, the type of product, and past

  experience affect whether certain steps are skipped or how important each step is in the

  decision-making process. To give an extreme example, in impulse purchases, a consumer may

 jump from need arousal to purchase.

         29.     Consumers may use multiple information sources: individual marketing mix
 elements of a firm (e.g., advertising), brands, their own past experiences, word of mouth,

 salespeople, third-party information providers, etc.

         30.     Consumers evaluate products to form perceptions about product attributes and
 benefits, as well as to formulate their preferences. Consumers develop perceptions about the

 levels of attributes, which are weighted according to their preferences (that is, importance weights

 attached to perceived attribute levels). For example, a consumer may attach a higher importance

 weight to the cavity-fighting attribute of a toothpaste than to the teeth whitening attribute.

 Likewise, some consumers may attach a high importance weight to (i.e., have a preference for) the

 “organic” attribute of food products, while other consumers may not. The evaluation of the choice

 alternative, or the utility consumers derive from that choice alternative, is the sum of these

 perceptions weighted by their relative importance (importance weights).



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       10
           For example, Gucci (e.g., hand bags, fashion eye glasses, watches), Dove (soap,
 moisturizer, liquid dishwashing detergent), and Oral-B (toothpaste, toothbrush, mouthwash, dental

 floss) are umbrella brands. See Erdem, Tülin (1998), “An Empirical Analysis of Umbrella
    Branding,” Journal of Marketing Research, 35 (3), 339-351.
        11
         Lilien, Gary L. Philip Kotler and K. Sridhar Moorthy (1992), Marketing Models, New
    Jersey: Prentice Hall.

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 1            31.   Consumers face multiple decisions in the purchase process. Besides the general
  decisions of whether to buy, when to buy, and where to buy, there are also decisions such as how

  much to buy (in frequently purchased product categories), which platform to buy (Windows vs.

  Apple in PCs, or Apple IOS vs. Android in smartphones), and which features/attributes to consider

  in forming overall evaluations about options. As a practical matter, some of these decisions can be

  made simultaneously and others sequentially.

            32.   Not all consumers approach purchase decisions in the same manner, and different
  consumers may follow different sequences in making purchase decisions. For example, a

  Samsung marketing research document indicates that 55 percent of Samsung consumers and 35

 percent of Apple consumers select the wireless service provider first and the mobile phone model

 second, while 32 percent of Samsung consumers and 24 percent of Apple consumers select the

 provider and phone simultaneously, and the remaining select the phone first and the provider

 second. 12

           33.   In practice, consumers facing complex decision tasks often use heuristics to save on
 costs of thinking (information processing costs). 13 For example, if there are many choices to

 consider, they may first eliminate options using disjunctive rules (e.g., to exclude from

 consideration any tablet that costs more than $300). Furthermore, if a product has multiple

 features/attributes, consumers may focus only on a subset of features/attributes to evaluate and

 compare options, and research has shown that consumers may consider a smaller subset of options

 when the number of choices increases. For example, in one leading article, Payne (1976) asked

 his subjects to choose among two, six or twelve hypothetical apartments. 14 Information was

 available about each apartment with respect to either four, eight or twelve features/attributes of the

 apartments such as rent, cleanliness, landlord attitude, noise level, etc. As the number of

      12
            “Attitudes and Usage of Smartphone owners,” Hall & Partners (SAMNDCA00252685-
    775, at 760).
     13
            Shugan, Steven (1980), “The Cost of Thinking,” The Journal of Consumer Research, Vol.
 7(2), 99-111.
        14
            Payne, J.W. (1976), ”Task Complexity and Contingent Processing in Decision-Making: An
 Information Search and Protocol Analysis,” Organizational Behavior and Human Performance,
    16, 366-387.

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 1 alternatives and/or the number of features/attributes increased, the subjects were progressively less
  thorough in their inspections. Payne’s results illustrate a commonly observed characteristic of

  representation and evaluation of alternatives. They appear to include remarkably few of the

  alternatives’ aspects and features/attributes. One explanation of this phenomenon is that people

  have limited cognitive capacity, and the use of heuristics and selective consideration of

  features/attributes simplifies decision-making processes. 15

  V.        ANALYSIS OF SMARTPHONE AND TABLET PURCHASE DECISION-MAKING
            34.    Both smartphones and tablets are used in different contexts such as text messaging,
  e-mailing, viewing/editing documents, and listening to music. For example, the Yankee Group

 Samsung Strategy Session document 16 identified “key” usage contexts for smartphones to be:

 performing banking transactions, transferring money to friends or family, receiving or redeeming

 coupons, mobile internet shopping, downloading graphics/logos/wallpapers, downloading ring

 backs, downloading ring tones, receiving text alerts, posting/uploading photos to web, accessing

 online community or social networking, locating points of interest, obtaining driving directions

 (Location-based/GPS services), accessing and browsing of the internet, watching live TV,

 watching video clips, listening to downloaded or sideloaded music, listening to streaming music,

 downloading music, playing games, downloading games, taking pictures, participating/voting in

 contests or polls, using “push to talk” (walkie talkie), instant messaging, accessing e-mail, video

 messaging, picture messaging/MMS and text messaging/SMS.

           35.    Similarly, there are many activities corresponding to different usage contexts in
 tablets, including:










         15
           Yates, Frank, J. (1990). Judgment and Decision-Making. New Jersey: Prentice Hall.
         16
              Yankee Group Samsung Strategy Session (SAMNDCA00250503-557, at 519).
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                                                                        . 17
             36.    Given the wide variety of uses, smartphones and tablets incorporate a very large set
  of features/attributes to deliver the benefits and functionalities consumers seek.

                    A.     Main Features/Attributes of Smartphones and Tablets
             37.    Both Apple and Samsung internal documents identify many main
  features/attributes that may play a role in consumer decision-making concerning smartphones and

  tablets.

             38.    With regard to smartphones, a recent iPhone Buyer Survey identified the following
 features/attributes that are considered by consumers when choosing an iPhone:





                                      . 18 A Hall & Partners Study conducted for Samsung likewise
 lists many features/attributes, each with multiple levels or sub-features such as voice features

 (including speakerphone, voice dialing, memo), digital photography capabilities (including digital

 camcorder, live TV, video call, video share...), MP3 player functionality (including direct

 download, sideload), text messaging options (including multimedia, IM, Voice, T9 function), and

 many others. 19

            39.    Similarly, many features/attributes contribute to consumer purchase decisions for
 tablets. According to Apple’s iPad Tracking Study, the list of top features/attributes prompting

 acquisition of tablets in the US include





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

      19
            “Attitudes and Usage of Smartphone owners,” Hall & Partners (SAMNDCA00252685-
 775, at 719-746).
       20
            “Q1 FY11 iPad Tracking Study” (APLNDC-Y0000023730-907, at 816).

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 1                  Another Apple document reported that
 

 

                          1.      Defining and Identifying Main Features/Attributes
            40.   The identification and definition of the full set of features/attributes for
  smartphones and tablets are subject to some degree of ambiguity and subjectivity, because there is

  no objective or universal set of features/attributes against which all smartphones and tablets are

  evaluated. Given the ambiguities inherent in delineating relevant features/attributes, it can be

  difficult to even provide a comprehensive list of features/attributes considered by consumers in

 making purchase decisions.

           41.   Thus, even if one could compile a comprehensive list of features/attributes, it is
 likely that the various features/attribute descriptions would be ambiguous and have different

 meanings to different individuals or in different contexts. For example, the term “ease of use”

 refers to the ease of use associated with keyboard and buttons in some documents, 23 and the ease

 of use associated with Internet features in others. 24 As a result, even a comprehensive list will

 likely have ambiguities.

           42.   A further complication in evaluating the importance of specific features/attributes
 to consumer decision-making concerning smartphones and tablets is the fact that the complexity

 and sheer number of features/attributes incorporated into smartphones and tablets mean it is not

 uncommon for consumers to not even know whether they have a certain feature/attribute. For

 example, the same smartphone survey conducted for Samsung referenced above notes that 30








         23
         “Attitudes and Usage of Smartphone owners,” Hall & Partners (SAMNDCA00252685-
    775, at 750).
       24
         “2009 Wireless Consumer Smartphone Satisfaction Study Volume 1,” J.D. Power and
    Associates (SAMNDCA00190144-243, at 195).

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 1 percent of consumers surveyed did not know if their smartphone had a T9 function (a type of
  predictive texting). 25

                              2.     Main Features/Attributes Consist of Many Sub-Features and
                                       Functionalities
 
                 43.    One of the main reasons that defining and characterizing the main
 
      features/attributes of smartphones and tablets are difficult stems from the fact that each main
 
      feature/attribute is really a combination of multiple sub-features and capabilities.
 
                 44.    For example, Apple’s iPhone Product Marketing Manager Steven Sinclair testified
 
      at his deposition that “[t]here are a lot of features that contribute to ease of use, and if not done
 
      correctly, those features can detract from ease of use;” 26 “I don’t believe we’ve broken down

      features in a way that tie directly to ease of use;” 27 and “All of the features contribute to ease of

      use.” 28

                 45.    Due to these circumstances, companies selling complex devices such as

      smartphones and tablets use general descriptions to refer to groups of features/attributes, and the

      combination of sub-features therein, in most of their consumer research. Apple, for example, uses

      the following as descriptions of groups of attributes in its surveys and research of consumer

      preferences for iPhone attributes: easy to use, service and support, (Trust) Apple brand, quality of

      apps, battery life, value for price paid, quantity of apps, attractive appearance and design, ability to

      sync iPhone content, camera with LED flash, retina display, HD video recording and FaceTime

      video calling. 29

                 46.    Consequently, the consumer research available from Apple and Samsung has been

      conducted in such a manner that it will rarely (if ever) be possible to link a specific patent of the

      types at issue here to a feature/attribute contained in their consumer research, especially in a



       25
            “Attitudes and Usage of Smartphone owners,” Hall & Partners (SAMNDCA00252685-
 775, at 729).
          26
              Deposition of Steven Sinclair, April 4, 2012 (“Sinclair Deposition”), at p. 59.
          27
                 Sinclair Deposition, at p. 47.
          28
              Sinclair Deposition, at p. 52.
          29
                 “iPhone Buyer Survey Q3 FY11” (APLNDC-Y0000027506-599, at 523).

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 1 manner that would reasonably permit one to conclude that the patent was having an impact on
  consumer demand.

                  B.      Consumers Do Not Consider All Main Features/Attributes in Making
                            Purchase Decisions
 
             47.    Academic literature recognizes that in complex decision environments consumers’
 
      focus on a limited set of attributes for comparative purposes when making purchase decisions.
 
      For example, consumers cannot take into consideration all features/attributes when they are so
 
      numerous, as they are in smartphones and tablets (as described above).
 
             48.    Given the many features/attributes of smartphones and tablets, main purchase
 
      drivers are often centered on main benefit groups. For example, Apple internal consumer research

      suggests that the reasons for purchasing an iPhone are focused on







             49.    Apple’s documents reflect Apple’s recognition that consumers ignore the majority

      of features/attributes. Indeed, Apple’s surveys do not even test a majority of them. For example,

      when comparing consumer preferences for different attributes of the iPhone 4,









                                               . Nor should they be mentioned because, as discussed

      above (and as implicitly recognized by Apple’s market research), they will have no impact on

      consumer decision-making.




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
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 1            50.    Surveys also reflect that there are differences in importance weights (preferences
  for) attached to features/attributes among different phone users. For example, one Samsung

  survey notes that iPhone owners put more importance on the brand of the smartphone than owners

  of other brands of smartphones. 33

                   C.        Consumers Do Not Base Purchase Decisions on Functionalities
                               Associated with the Patents at Issue
 
              51.    The utility functions covered by the ‘915, the ‘163 and the ‘381 patents are very
 
      specific and do not belong to the main set of features/attributes that I describe above as driving
 
      consumer decision-making. They may be a part of a main feature/attribute such as “ease of use,”
 
      along with numerous other sub-features, but there are simply too many sub-features in these

      complex devices for consumers to evaluate each one separately and consider them as a factor in

      their decision-making.

              52.    The Apple and Samsung internal materials I have reviewed do not attempt to

      directly study the effect of such narrowly defined utility functions on consumer choice (and,

      hence, demand). I have reviewed the conjoint study conducted by Apple’s expert witness Dr.

      Hauser, which purports to be directed at the functions at issue here. I understand that Samsung

      retained Dr. Yoram (“Jerry”) Wind to comment specifically on the conjoint study conducted by

      Dr. Hauser. I have reviewed Dr. Wind’s declaration. I do not believe that Dr. Hauser’s reported

      results accurately reflect consumer decision-making in the selection of smartphones or tablets.

              53.    I understand that Apple’s expert witness Terry Musika cited the “Browser Zooming

      Methods UX Exploration Study” 34 as evidence of the importance of the features embodied by the

      ‘915, ‘163 and ‘381 user interface patents (which are only a few of the many sub-features of

      features or attributes like ease of use or touchscreen). 35 However, Mr. Musika’s reliance on this

      evidence is misplaced for a number of reasons. First, this document is only even arguably relevant

       33
            “Attitudes and Usage of Smartphone owners,” Hall & Partners (SAMNDCA00252685-
 775, at 760).
         34
       PX38 (“Browser Zooming Methods UX Exploration Study”, April 17, 2009,
    SAMNDCA11104115-139 at 133).
       35
       Declaration of Terry Musika in Support of Apple’s Motion for Permanent Injunction,
    August 29, 2012.

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 1 to the ‘163 patent—it does not relate to the other two patents. Second, these were very small
  sample size studies (e.g., 8 out of 9 respondents preferred the double-tap zooming). Third, the

  Browser Zooming Methods UX Exploration Study explicitly noted that the data and

  interpretations were qualitative and no statistical analysis was done. 36 “Impromptu” samples were

  used, and these samples were drawn from messaging device usability studies that did not

  correspond to mobile internet users. 37 Fourth, there were no working prototypes (“[p]aper

  prototyping has limitation on expression of dynamic interaction of zooming concepts” 38). Finally,

  it is my understanding, based on the Gray Declaration, that the ‘163 patent is narrower than

  “double tap to zoom.”

           54.   Mr. Musika also cited the 2010 “Behold3 Usability Evaluation Results Report”
 that found “iPhone: Generates fun for the user with a visual element that seems to bounce…

 Direction for improvement: Provide a fun visual effect when dragging a web page.” 39 This report

 identified 75 issues associated with different features/sub-features. This particular “visual fun

 element” was one of the 75+ issues noted. 40

           55.   In his declaration, Mr. Musika refers to third-party reports that note a better
 browsing experience on the iPhone compared to Samsung. Mr. Musika, for example, quotes a

 Gravity Tank report saying that the iPhone is “sexy to use….[Consumers’] experience is almost

 cinematic. Fun. Gestures like two fingered pinch and flick add a game-like quality to

 interaction… Whimsical. Lists bounce, icons flitter….” 41

           56.   “Having fun” while using a device could be one of the experiential attributes of a
 product (although none of the consumer studies looked at a “fun” attribute in smartphones).


         36
       PX38 (“Browser Zooming Methods UX Exploration Study,” April 17, 2009
    (SAMNDCA11104115-139, at 120).
    37
          PX38 (“Browser Zooming Methods UX Exploration Study,” April 17, 2009
    (SAMNDCA11104115-139, at 120).
    38
          PX38 (“Browser Zooming Methods UX Exploration Study,” April 17, 2009
 (SAMNDCA11104115-139,      at 120).
       39
          PX46 (“Behold3 Usability Evaluation Results,” at SAMNDCA00508336-441, at 383).
       40
       PX46 (“Behold3 Usability Evaluation Results,” at SAMNDCA00508336-441).
       41
          Musika Declaration, at Exhibit 51.
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 1 However, any such attribute, especially in categories that involve complex devices, is, for practical
  purposes, composed of so many dimensions that it is impossible to talk about the individual sub-

  dimensions of “Apple iPhone is fun” or “Apple is fun” or to meaningfully link any of the

  functionalities covered by the patents at issue to this experience. Apple may have a “fun”

  association with consumers due to many different influences, including advertising campaigns.

           57.     In light of the foregoing, none of the evidence cited by Mr. Musika provides a
  meaningful link between the practice of the specific patents at issue and consumer purchase

  decisions.

           58.     Based on all the materials I reviewed, I do not find any credible evidence that the
 Apple utility patents at issue here drive consumer demand for Samsung smartphones and tablets.

 Indeed, these patents do not even qualify to be a “feature/attribute” (such as “size/weight,”

 “connectivity,” etc.) upon which consumers evaluate these products in purchase decisions. These

 are only three of the innumerable sub-features that are associated with the broader attributes, such

 as ease of use or ease of navigation using a touchscreen, that market research tests. I conclude that

 consumers base their decisions on a subset of main features/attributes (rather than the set of all

 features and sub-features) in smartphone and tablet markets, and that the utility patents at issue in

 Apple’s permanent injunction motion (the ‘915, the ‘163 and the ‘381 patents) do not drive

 consumer demand for Samsung smartphones or tablets.

                  D.      Samsung Design-Around for the Patented Inventions Would Effectively
                             Neutralize Any Demand Effects Relating to the Patents-at-Issue

             59.     As explained above, smartphones and tablets have too many sub-features such as

      the ones embodied by the ‘915, ‘163 and ‘381 user interface patents for the functionality covered

      by these specific patents to be drivers of consumer demand. However, for purposes of discussion,

      let us assume that consumers are aware of and distinctly form perceptions of these three sub-

      features. If these sub-features did significantly contribute to, for example, overall ease of use

      perceptions, we would expect to observe higher ratings of features/attributes such as ease of

      navigating the phone using touchscreen associated with Samsung phones accused of infringing


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 1 versus those that are not accused of infringing. Third-party research 42 shows that the ease of
  touchscreen navigation, as well as overall ease of use, was rated by consumers slightly better for

  Samsung Behold II, Moment and Instinct models, which were not accused of infringing, than for

  Epic 4G, which was accused of infringing the ’163, ’381 and ’915 patents. 43 This is inconsistent

  with the idea that these patents drive demand for the accused products.

            60.    As described above, I have reviewed information regarding the design-arounds for
  the products accused of infringing the ’163, ’381 and ’915 patents. As part of my assignment, I

  was provided a Samsung Galaxy II Epic 4G Touch (Sprint) that allowed me to “experience” any

  potential differences between a Samsung smartphone with ’163 and ’381 design-around

 functionalities versus the functionalities depicted in the videos used by Dr. Hauser. I also own an

 iPhone 4S.

           61.    Based on my review of the Gray and van Dam Declarations, I understand that the
 design-arounds are aimed to fulfill the functions performed by the utility patents at issue. In the

 case of the ’915 patent, I understand a user will still be able to scroll using a single finger and

 zoom using two fingers using the design-around software. In the case of the ’163 and ’381

 patents, the differences in user experience between the design-arounds (as described in paragraphs

 21 and 24, respectively) and the patented attributes are minor. I am unaware of any consumer

 studies aiming to measure consumer sentiments in regard to different ways of providing the same

 type of these functionalities, that is, “snap-back” vs. “blue glow” and “double tap to zoom (and

 center)” vs. “double tap to zoom out the whole page, without the second box being centered

 substantially.” However, as described above these three functionalities do not drive consumer

 demand; different variations of how these functionalities are offered cannot drive consumer

 demand either.


       42
          “2011 Wireless Smartphone Satisfaction Study,” J.D. Powers and Associates
 (SAMNDCA10246338-445 at 445).
         43
          The model that faired best among the eight listed in the study was the Vibrant. The
    Vibrant was accused of infringing all three patents at issue, but I understand that it was found not
 to infringe the ’163 patent at trial. It is worth noting that this model rated better on many non-
    touchscreen related features, too.

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 1          62.     As I have previously described in paragraph 25 of this report, features/attributes
  offer benefits (or costs as in the case of price) to consumers. The patented functionalities and the

  Samsung design-arounds are geared towards providing consumers essentially the same benefits

  and similarly contribute to the overall user experience. Because the patents at issue (and their

  associated design-arounds) are a tiny set of all features/attributes that contribute to the benefit of a

  desirable user experience, whatever minor differences exist between them are highly unlikely to

  affect any consumer’s decision-making.

 

           I declare under penalty of perjury under the laws of the United States of America that the
 foregoing is true and correct.



          Executed on October 19, 2012 at New York, New York.


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                                                  By

                                                    Tülin Erdem
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                                        EXHIBIT 1
                                    CURRICULUM VITAE

                                          Tülin Erdem
                Leonard N. Stern Professor of Business and Professor of Marketing

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                              New York University
                              913 Tisch Hall, 40 West Fourth Street
                              New York, New York 10012-1126
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EDUCATION

 1993           Ph.D. Business Administration (major: Marketing), University of Alberta
 1989           ABD Economics, University of Alberta
 1987           M.A. Economics, University of Alberta
 1986           B.A.       

ACADEMIC POSITIONS

 2006-present          Leonard N. Stern Professor of Business and Professor of Marketing
                       Stern School of Business, New York University
 2003-2006             E.T. Grether Professor of Business Administration and Marketing
                       Haas School of Business, University of California at Berkeley
 1998-2003             Associate Professor (with tenure)
                       Haas School of Business, University of California at Berkeley
 1993-1998             Assistant Professor
                       Haas School of Business, University of California at Berkeley
 1989-1993             Graduate Assistant
                       Faculty of Business, University of Alberta
 1986-1989             Research/ Teaching Assistant
                       Department of Economics, University of Alberta

AWARDS, HONORS, GRANTS

 2008           Finalist, John D.C. Little Best Paper Award
 2007-8         Outstanding Reviewer Award, Journal of Marketing
 2003           Finalist, William O’Dell Best Paper Award
 1998-2002      National Science Foundation (NSF) grant, SBR-9812067, $ 178,000.00
 1998           AMA Doctoral Consortium Faculty Fellow (also in 2000, 2007-12)
 1998           Finalist, Paul Green Best Paper Award
 1996           Winner of John D.C. Little Best Paper Award
 1996           Winner of Frank M. Bass Best Dissertation Paper Award
 1995-7         National Science Foundation (NSF) grant SBR-9511280, $ 100,000.00
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 1994-5     Junior Faculty Research Grant, University of California, Berkeley
 1994       Regents' Junior Faculty Fellowship, University of California, Berkeley
 1993       Co-winner of the AMA John A. Howard Doctoral Dissertation Award
 1993       Recipient of the Gold Medal of the Governor General of Canada, awarded for
            academic excellence at the graduate level at Canadian Universities
 1992       AMA Doctoral Consortium Fellow
 1990-2     Domtar Ph.D. Fellowship, Faculty of Business, University of Alberta

PROFESSIONAL ACTIVITIES

     Affiliations: American Economic Association, American Marketing Association,
             Association for Consumer Research, Econometric Society, Institute for
             Operations Research and the Management Sciences, Minnesota Supercomputer
             Institute

     Advisory Council: Journal of Marketing Research (2012-present)

     Editor-in-Chief: Journal of Marketing Research (2009-2012)

     Area Editor: Marketing Science (2002-2009)

     Associate Editor: Quantitative Marketing and Economics (2003-present)

     Associate Editor: Journal of Consumer Research (2005-2009)

     Editorial Board Member: Academy of Marketing Science (2006-present), International
             Journal of Research in Marketing (1996-present), Journal of Consumer Research
             (2011-present), Journal of Marketing (2003-present), Journal of Marketing
             Research (1998-2009), Marketing Letters (1996-present), Marketing Science
             (1997-2009)

     Ad-hoc Reviewer: ACR, AMA John A. Howard Doctoral Dissertation, American
           Economic Review, Association for Consumer Research, California Management
           Review, International Economic Review, Journal of Applied Econometrics,
           Journal of Business and Economic Statistics, Journal of Econometrics, Journal of
           Agricultural and Resource Economics, Journal of Economic Psychology, Journal
           of Retailing and Consumer Services, OMEGA, Management Science, Marketing
           Science Institute, NSF, Psychometrica, Review of Economics and Statistics

     President-Elect: ISMS, INFORMS Society of Marketing Science (2004, 2005)

     President: ISMS, INFORMS Society of Marketing Science (2006, 2007)

     Past-President: ISMS, INFORMS Society of Marketing Science (2008, 2009)




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        Conference Organizations:

               Co-Cahir, 2013 Marketing Science Conference
               Co-Chair, 2010 Marketing Dynamics Conference
               Co-Chair of Program Committee, Cheung Kong GSB Marketing Research
                      Forum, Beijing China, June 2009
               Co-Chair, 2003 and 2008 QME (Quantitative Marketing and Economics)
                      Conference
               Chair, Marketing Track, 2003 INFORMS International Meetings
               Co-Chair, 2001 Tri-Annual Invitational Choice Symposium
               Co-Chair, 1997 Marketing Science Conference

               Member of the Steering Committee, 2004, 2007, 2010, 2013 Tri-Annual
                    Invitational Choice Symposium
               Member of Advisory Committee, 2011 Marketing Dynamics
                    Conference
               Member of Program Committee, 2006 Marketing Dynamics
                    Conference
               Member of Program Committee, 2004, 2005, 2009 QME (Quantitative
                    Marketing and Economics) Conference
               Member of Program Committee, 2005 ACR (Association for Consumer
                    Research) Conference

RESEARCH

Interests

        Advertising and Pricing, Brand Equity, Branding Strategies, Econometric Modeling,
        Individual Decision-Making and Choice, Marketing Science Models of Consumer
        Behavior and Marketing Mix Strategy, Product Management and Strategy.

Refereed Publications

        Erdem, Tülin and Sue Ryung Chang (2012), “A Cross-Category and Cross-Country
              Analysis of Umbrella Branding for National and Store Brands,” Special 40th
              Anniversary issue of Journal of the Academy of Marketing Science 40 (1), 86-101.

        Shachar, Ron, Tülin Erdem, Gavan Fitzsimons, Keisha Wells (2011), “Brands: The
              Opiate of the Non-Religious Masses?“ Marketing Science 30, 92-110.

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       Price Sensitivity in Experience Goods Markets,” Quantitative Marketing and
       Economics, 6 (2), 139-176.

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       Brett Gordon, Dominique Hanssens, Guenter Hitsch, Han Hong, Baohong Sun
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         Formation and Preference Discrimination under Uncertainty,” Marketing Science
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        Modeling In Marketing: Review and Assessment,” Marketing Science, 25 (6)
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       About Computers: An Analysis of Information Search and Technology Choice,”
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       Choice and Consideration,” Journal of Consumer Research 31 (1), 191-199.

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       A Cross-Country Analysis of Consumer Store Brand Preferences, Perceptions and
       Risk,” Journal of Marketing Research, 41 (1), 86-100.

 Erdem, Tülin, Susumu Imai and Michael Keane (2003), “A Model of Consumer
       Brand and Quantity Choice Dynamics under Price Uncertainty,” Quantitative
       Marketing and Economics, 1 (1), 5-64. (Lead article.)

 Erdem, Tülin and Baohong Sun (2002), “An Empirical Investigation of Spillover
       Effects of Marketing Mix Strategy in Umbrella Branding,” Journal of Marketing
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 Swait, Joffre and Tülin Erdem (2002), “The Effects of Temporal Consistency of Sales
         Promotions and Availability on Consumer Choice Behavior,” Journal of
         Marketing Research, 34 (3), 304-320.

 Erdem, Tülin, Joffre Swait and Jordan Louviere (2002), “The Impact of Brand Credibility
       on Consumer Price Sensitivities across Multiple Product Categories,”
       International Journal of Research in Marketing, 19 (1), 1-19 (lead article).

 Erdem, Tülin, Glenn Mayhew and Baohong Sun (2001), “Understanding the
        Reference Price Sensitive Shopper: A Within and Cross-Category Analysis,”
       Journal of Marketing Research, 38 (4), 445-457.

 Erdem, Tülin and Baohong Sun (2001), “Testing for Choice Dynamics in Panel
       Data,” Journal of Business and Economic Statistics, 19 (2), 142-152.

 Erdem, Tülin, Joffre Swait, Susan Broniarczyk, Dipankar Chakravarti, Jean-Noel
        Kapferer, Michael Keane, John Roberts, Jan-Benedict Steenkamp and Florian
       Zettelmeyer (1999), “Brand Equity, Consumer Learning and Choice,” Marketing
       Letters, 10 (3) 301-318.

 Erdem, Tülin and Russell Winer (1999), “Econometric Modeling of Competition: A
       Multi-Category Choice-Based Mapping Approach,” Journal of Econometrics,
       89, 159-175.

 Erdem, Tülin, Michael P. Keane and Baohong Sun (1999), “Missing Price and
       Coupon Availability Data in Scanner Panels: Correcting for the Self-Selection
       Bias in he Choice Model Parameters,” Journal of Econometrics, 89, 177-196.




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       Erdem, Tülin (1998), “An Empirical Analysis of Umbrella Branding,” Journal of
             Marketing Research, 35 (3), 339-351 (finalist for Paul Green best paper award).

       Erdem, Tülin and Joffre Swait (1998), “Brand Equity as a Signaling Phenomenon,”
             Journal of Consumer Psychology,7 (2), 131-157.

       Meyer, Bob, Tülin Erdem, Fred Feinberg, Itzhak Gilboa, Wes Hutchinson, Aradhna
              Krishna, Steve Lippman, Carl Mela, Amit Pazgal, Drazen Prelec and Joel Steckel
              (1997), “Dynamic Influences on Individual Choice Behavior,” Marketing
              Letters,8 (3), 349-360.

       Erdem, Tülin (1996), “A Dynamic Analysis of Market Structure based on Panel
             Data,” Marketing Science, 15 (4), 359-378.

       Erdem, Tülin and Michael P. Keane (1996), “Decision-Making under Uncertainty:
             Capturing Dynamic Choice Processes in Turbulent Consumer Goods Markets,”
             Marketing Science, 15 (1), 1-20 (lead article).

       Finn, Adam and Tülin Erdem (1995), “Economic Impact of Tourists Visiting a Mega-
              Multi Mall,” Tourism Management, 16 (5), 367-373.

       Winer, Russell, Randolph E. Bucklin, John Deighton, Tülin Erdem, Peter Fader, J.
             Jeffrey Inman, Hotaka Katahira, Katherine N. Lemon and Andrew Mitchell
             (1994), “When Worlds Collide: The Implications of Panel Data-based Choice
             Models for Consumer Behavior,” Marketing Letters, 5 (4), 383-394.

       Swait, Joffre, Tülin Erdem, Jordan J. Louviere and Chris Dubelaar (1993), "The
               Equalization Price: A Measure of Consumer-perceived Brand Equity,”
               International Journal of Research in Marketing, 10 (special issue on Brand
               Equity), 23-45.

Other Publications

       Erdem, Tülin and Joffre Swait, “Branding and Brand Equity Models,” in The History of
              Marketing Science, eds. Scott Neslin and Russell Winer. Now Publishers Inc.,
             forthcoming.

       Erdem, Tülin (2010), “State of the Journal”, Editorial in Journal of Marketing Research,
             47 (6), 997.

       Erdem, Tülin (2010), “Spanning the Boundaries”, Editorial in Journal of Marketing
              Research, 47 (1), 1-2.




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      Erdem, Tülin and Joffre Swait (2010), “Utility-Based Models of Brand Equity,” in
            Brands and Brand Management: Contemporary Research, 207-229, eds. Rohini
            Ahluwalia, Mike Houston and Barbara Loken. Routledge, New York.

      Rangaswamy, Arvind, James J. Cochran, Tülin Erdem, John R. Hauser, Robert J.
            Meyer (2008), “Editor-in-Chief Search Committee Report: The Digital Future
            is Now,” Marketing Science, Editorial, 27,1, 1-3.

      Erdem, Tülin and Russell Winer (2002), “A Brief History of Choice Modeling in
            Marketing,” Marketing Letters, 13 (3), 157-162 (special issue based on the 5th
            Invitational Choice Symposium, guest editors T. Erdem and R. Winer).

Working Papers

      Cutright, Keisha, Tülin Erdem, Gavan Fitzsimmons and Ron Shachar (2012),
             “Finding Brands and Losing your Religion?”

      Ching, Andrew, Tülin Erdem and Michael Keane (2012), “Learning Models: An
             Assessment of Progress, Challenges and New Developments.”

      Che, Hai, Tülin Erdem and Sabri Öncü (2012), “Consumer Learning and
            Evolution of Consumer Brand Preferences.”

      Yang, Sha, Yi Zhao, Tülin Erdem and Daeyoung Koh (2012), "Modeling Consumer
             Choice with Dyadic Learning and Information Sharing: An Intra-household
             Analysis."

      Swait, Joffre, Tülin Erdem and Tom Peters (2011), “Shocks to Brand Equity: An
              Information Economics Perspective on the US Auto Industry 2006-2010.”

      Shacham, Rachel, Peter Golder and Tülin Erdem (2011), “A Cigarette, a Six Pack or
            Porn? The Complementarity of Vices.”

      Ching, Andrew, Tülin Erdem and Michael Keane (2010), “How Much Do Consumers
             Know About the Quality of Products? Evidence from the Diaper Market.”

      Erdem, Tülin , Joffre Swait and Ana Valenzuela (2010) “Economic Development and
             Brand Credibility.”

      Guo, Liang and Tülin Erdem (2005) “Measuring Usage Flexibility in Wireless Tariff
             Choice.”




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Invited Presentations

                 Istanbul, Turkey, July 2012.
       ISMS Doctoral Consortium and Marketing Science Conference, Boston, MA,
               June 2012.
       Research Seminar, School of Business, Rutgers, Newark, April 2012.
       Distinguished Speaker Series, Isenberg School of Management, UMASS, Amherst,
               March 2012.
       Distinguished Speaker Series, School of Business, George Washington University,
               March 2012.
       Marketing Workshop, Foster School of Business, University of Washington,
               November 2011.
       Marketing Workshop, Marshall School of Business, USC, August 2011.
       Keynote Speaker, Marketing Dynamics Conference, Jaipur, India, July 2011.
       ISMS Doctoral Consortium and Marketing Science Conference, Houston, TX,
                June 2011.
       Research Seminar, Department of Economics, McGill University, Montreal, Canada,
               May, 2011.
       Marketing Workshop, Koç University, Istanbul, Turkey, March 2011.
       Speaker Series, Carey School of Business, John Hopkins University, Baltimore, January
                2011.
       Marketing Workshop, School of Business, University of Alberta, Edmonton, AB,
                November 2010.
       Marketing Workshop, School of Management, Yale University, November 2010.
       Marketing Speaker Series, Georgia Institute of Technology, Atlanta, GA, October 2010.
       London Business School Marketing Research Camp, London, England, July 2010.
       ISMS Doctoral Consortium and Marketing Science Conference, Cologne, Germany,
                June 2010.
       AMA Doctoral Consortium, Texas Christian University, TX, June 2010
       Invitational Choice Symposium, hosted by University of Miami and University of
                Technology Sydney, May 2010.
       Marketing Workshop, Fordham University, NY, May 2010.
       Marketing Workshop, HBS, Boston, MA, March 2010.
       Marketing Workshop, Baruch College, NY, December 2009.
       Keynote Speaker, Marketing Dynamics Conference, NY, NY, August 2009.
       AMA Summer Educators’ Conference, Chicago, IL, August 2009.
       Marketing Workshop, Universidad Autónoma de Madrid, Madrid, Spain, July 2009.
       Cheung Kong GSB Marketing Research Forum, Beijing, China, June 2009.
       Marketing Science Conference, University of Michigan, Ann Arbor, MI, June 2009.
       AMA Doctoral Consortium, Georgia State University, Atlanta, GA, June 2009.
       ISMS Doctoral Consortium and Marketing Science Conference, University of Michigan,
               Ann Arbor, MI, June 2009.
       Marketing Workshop, University of Rochester, April 2009.
       Marketing Research Camp, Pennsylvania State University, April 2009.




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 Advertising Research Foundation, Marketing Modelers’ Seminar Series, NY, NY,
         March 2009.
 AMA Winter Educators Conference, Tampa, Florida, February 2009.
  iversity Public Lecture Series, Istanbul, Turkey, December 2008.
 Bilkent Research Camp, Bilkent University, Ankara, Turkey, June 2008.
 ISMS Doctoral Consortium, University British Columbia, June 2008.
 AMA Doctoral Consortium, University of Missouri, June 2008.
 Marketing Research Camp, Texas A&M University, April 2008.
 Marketing Workshop, Duke University, December 2007.
 Marketing Workshop, Columbia University, November 2007.
 5th QME Conference, discussant, Chicago, IL, October 2007.
 ISMS Doctoral Consortium, Singapore Management University, Singapore, June 2007.
 Invitational Choice Symposium, hosted by Wharton School, May 2007/.
 AMA Doctoral Consortium, Arizona State University, Tempe, AZ, May 2007.
 Advertising Research Foundation, Marketing Modelers’ Seminar Series, NY, NY, May
         2007.
 4-School Colloquium, Columbia, NYU, Wharton, Yale hosted by Wharton, April 2007.
 Marketing Research Camp, University of Pittsburgh, February 2007.
 Marketing Science Doctoral Consortium, University of Pittsburgh, June 2006.
 Marketing Workshop, University of California, Riverside, June 2006.
 Marketing Workshop, Yale University, New haven, December 2005.
 Distinguished Lectureship Series, University of Michigan, October 2005.
 Marketing Workshop, New York University, September 2005.
 Graduate School of Management Seminar, !# % University, Istanbul, Turkey, July
          2005.
 Faculty of Business Administration Seminar, Bilkent University, Ankara, Turkey, July
         2005.
 Marketing Science Doctoral Consortium, Emory University, June 2005.
 Hightower Distinguished Lectureship Series, Emory University, December 2004.
 IO Workshop, Duke University, October 2004.
 ACR Doctoral Consortium, Portland, Oregon, October 2004.
 Marketing Science Doctoral Consortium, Erasmus University, Netherlands, June 2004.
 Invitational Choice Symposium, hosted by University of Colorado, June
         2004.
 Marketing Workshop, Stanford University, February 2004.
 Business School Seminar Series, San Francisco State University, October 2003.
 Marketing Science Doctoral Consortium, University of Maryland, June 2003.
 Marketing Workshop, Northwestern University, April 2003.
 Marketing Research Camp, Washington University, March 2003.
 Cowles Conference on Estimation of Dynamic Demand Models, Economics
         Department, Yale University, November 2002.
 ACR Doctoral Consortium, Atlanta, Georgia, October 2002.
 Marketing Workshop, Yale University, May 2002.
 Marketing Workshop, University of Colorado, April 2002.
 Marketing Workshop, Washington University, St. Louis, May 2001.


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       Marketing Workshop, MIT, April 2001.
       Marketing Workshop, Harvard Business School, April 2001.
       Marketing Workshop, University of Houston, March 2001.
       AMA Summer Educators Conference Special Session on Brand Equity honoring
               David Aaker, Chicago, August 2000.
       AMA Doctoral Consortium, University of Western Ontario, August 2000.
       Marketing Workshop, University of Toronto, March 2000.
       Marketing Workshop, University of California, Davis, December 1999.
       Econometrics in Tel Aviv, Dept. of Economics, Tel Aviv University, Israel, June 1999.
       Marketing Seminar Series, UC Irvine, March 1999.
       Marketing Seminar Series, Cornell University, February 1999.
       Marketing Research Camp, UCLA, January 1999.
       Marketing Seminar Series, University of Pennsylvania, December 1998.
       Marketing Seminar Series, New York University, December 1998.
       AMA Doctoral Consortium, University of Georgia, August 1998.
       Marketing Seminar Series, GSIA, Carnegie Mellon University, May 1998.
       CEDA (Committee on Economic Development of Australia) Conference on Building
                Brands in the Knowledge Economy, Sydney and Melbourne, Australia,
               September 1998.
       Invitational Symposium on Choice Modeling and Behavior, hosted by HEC, Jouy- en-
               Josas, France, July 1998.
       Marketing Workshop, Koc University, Istanbul, Turkey, June 1998.
       Applied Econometrics and Quantitative Methods Summer Workshop, Koc University,
                Istanbul, Turkey, August 1997.
       Marketing Workshop, University of Texas at Dallas, May 1997.
       Marketing Workshop, MIT, April 1997.
       5th Annual Winter Research Retreat, University of Florida, March 1997.
       Invitational Symposium on Choice Modeling and Behavior, hosted by Columbia
               University, June 1996.
       Marketing Workshop, MIT, November 1995.
       Marketing Workshop, Ohio State University, May 1995.
       AMA Advanced Research Techniques Forum, Beaver Creek, Colorado, June 1994.
       Marketing Workshop, Stanford University, November 1993.
       Invitational Symposium on Choice Modeling and Behavior, hosted by Duke University,
               July 1993.

Conference Presentations

       EIRASS Conference, Zagreb, Croatia, July 2008.
       Marketing Science Conference, UBC, Vancouver, Canada, June 2008.
       Marketing Science Conference, SMU, Singapore, June 2007.
       EIRASS Conference, Budapest, Hungry, July 2006.
       Marketing Science Conference, Pittsburgh, PA, June 2006.
       Marketing Dynamics Conference, Sacramento, CA, September 2005
       Marketing Science Conference, Atlanta, GA, June 2005.


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        EIRASS Conference, Prague, Czech Republic, July 2004.
        Marketing Science Conference, Rotterdam, Netherlands, June 2004.
        Quantitative Marketing and Economics Conference, Chicago, IL, October 2003.
        EURO/INFORMS Joint International Meeting, Istanbul, Turkey, July 2003.
        Marketing Science Conference, Washington D.C., June 2003.
        AMA Advanced Research Techniques (ART) Forum, Monterey, CA, June 2003.
        Bayes Conference, Columbus, Ohio, November 2002.
        Marketing Science Conference, Edmonton, AB, Canada, June 2002.
        Marketing Science Conference, Wiesbaden, Germany, July 2001.
        EIRASS Conference, Sintra, Portugal, July 2000.
        Marketing Science Conference, LA, CA, June 2000.
        Marketing Science Conference, Syracuse, NY, May 1999.
        Marketing Science Conference, Fontainebleau, France, July 1998.
        INFORMS Fall Meetings, Dallas, Texas, October 1997.
        Association for Consumer Research Conference, Denver, CO, October 1997.
        Marketing Science Conference, Berkeley, CA, March 1997.
        Marketing Science Conference, Gainesville, FL, March 1996.
        INFORMS Spring Meetings, Los Angeles, CA, April 1995.
        Marketing Science Conference, Tucson, AZ, March 1994.
        Marketing Science Conference, St. Louis, MI, March 1993.
        Marketing Science Conference, London, England, July 1992.
        Marketing Science Conference, Delaware, March 1991.
        MSI Conference on Managing Brand Equity, Austin, TX, November 1990.
        Marketing Science Conference, Urbana, IL, March 1990.

TEACHING

Interests

        Brand Management and Strategy, Marketing Management, Marketing Planning,
               Marketing Strategy, Marketing Models

Experience

Teaching:
       Undergraduate: Marketing Management, Branding, Brand Management and Strategy,
              Marketing Strategy and Planning, Economic Development and International Trade
       MBA: Marketing Concepts, Marketing Management, Branding/ Brand Management and
              Strategy
       Ph.D.: Empirical Modeling, Marketing Models, Choice Models, Individual Topics in
              Marketing
       Executive Education: Brand Equity, Brand Strategy, International Marketing,
              Marketing Management and Strategy




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Graduate and Post-Graduate Mentorship:
      Post-Doctoral Mentorship:
             Baohong Sun (1995-1997). Carnegie Mellon University.
      Chair of Ph.D. thesis committee:
             Sue Chang (2012) “Learning Dynamics in Product Relaunch,” University of
                     Georgia.
             Rachel Shacham (2011) “Econometric Methods for Modeling the Difficult-to-
                     Observe Phenomena,” University of Minnesota.
             Johanna Sussman Ilfeld (2004) “Investigating Social Learning Effects in the
                     Consumer Choice of Health Care Plan Adoption.” Go-Strolling Inc.
             Judi Strebel (1997) “Modeling consumer choice processes for high-tech durable
                     goods: An investigation of consumer learning under uncertainty.”
                     University of Arizona, SFSU.

       Member of Ph.D. thesis committee:

                Marketing
                Wenbo Wang (2012), HKUST
                Mantian Hu (2012), Chinese University of Hong Kong
                Sherif Naser (2008), Washington University, St. Louis.
                * < => \^^_  sity of Chicago, University of Michigan.
                Liang Guo (2003), HKUST.
                Ying Zhao (2001), HKUST.
                Mark Stiving (1996), OSU.

                Other
                Mürüvvet Çelikbas (2002, Industrial Eng. and OR)
                Timothy Beatty (2001, Agricultural Economics)
                Craig Mohn (1999, Agricultural Economics)
                Panupol Lerssrisuriya (1998, Industrial Eng. and OR)
                Alan Cooke (1997, Psychology)

       Member of several Oral Examination Committees

Effectiveness

       At Haas: Member of Club 6.0 (median 6.0 and above on a 7-point scale in regard to
       teaching effectiveness) in the majority of the courses taught during 1993-2006.




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ADMINISTRATIVE SERVICE

Stern School of Business

2012-present   Member of Promotion and Tenure Committee
2008-2009      Director, Stern Center for Measurable Marketing
2007-2008      Co-Director, Center for Digital Economy Research (CeDER)
2007-2009      Member of MBA Core Curriculum Committee
2007-2009      Member of Senior Faculty Review Committee
2007-2008      Member of Ad Hoc Search Committee in Environmental Studies
2006-2007      Research Director, Center for Digital Economy Research (CeDER)
2006-2007      Member of Global Task Force

Haas School of Business
2005-2006       Ph.D. Program Director, Haas School of Business
2005-2006       Chair, Committee on Research (Academic Senate Committee)
2005-2006      Member of DIVCO (UC Berkeley Divisional Council)
2004-2005      Member of UCORP (University Committee on Research Policy).
                   UC system-wide committee, UC Berkeley Representative
2004-2005       Vice-Chair, Committee on Research (Academic Senate Committee)
2004-2005       Chair, Policy and Planning (P2) Committee
2003-2004       Member of Policy and Planning (P2) Committee
2003-2004       Member of Academic Affairs Advisory Council
2003-2004       Chair, Marketing Group
2002-2003       Associate Dean for Academic Affairs and Faculty Chair
2001-2004       Member of Haas School Hiring Committee
2001-2004       Member of Committee on Research (Academic Senate Committee)
2001-2002        Co-Associate Dean for Academic Affairs and Chair of Haas School Hiring
                     Committee
2001-2002       Acting Chair, Marketing Group
1999-2001       Member of Policy and Planning (P2) Committee
1999-2000       Member of Faculty and Ph.D. Computer Committee (FPCC)
1999-2000       Member of Space Allocation Committee
1996            Member of ad hoc Marketing Ph.D. Program Evaluation Committee




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CONSULTING AND LITIGATION EXPERIENCE


  x    Academic Partner of Prophet (2008-2012). Prophet is a Strategic Brand and Marketing
       Consultancy.

  x    Viacom International Inc., MTV Networks and Harmonix Music Systems Inc. v.
       Activision Inc., Activision Publishing Inc. and RedOctane Inc., before JAMS Arbitration
       Panel, JAMS Reference No.: 1220038389 (2008-9). Retained by Kirkland & Ellis, LLP.
       Testified by deposition on brand equity, brand positioning, communication strategies and
       likelihood of consumer confusion.

  x    Co-authored White Paper on economic theory and empirical & econometric research on
       national cable ownership limits (2007). Filed in FCC cable ownership proceeding.
       Retained by Comcast.

  x    VISA U.S.A. v. First Data Corporation, First Data Resources Inc., First Data Merchants
       Services Corporation, Case No. C02-1786 (PJH) (2005-6), Northern District of
       California. Retained by Bingham McCutchen, LLP. Testified by deposition on brand
       promise, brand equity, branding strategy, trademark infringement, consumer behavior and
       decision-making in credit-card industry.

  x    Barbara’s Sales Inc. v. Intel Corporation, et. al., Case No. 02-L-788 (2004), Third
       Judicial Circuit, Madison County, Illinois. Retained by Korein Tillery. Testified by
       deposition on misleading positioning and advertising claims, branding strategy, consumer
       behavior and decision-making in high-tech product categories.




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                               EXHIBIT 2


                                  Bates Range

               APL7940000082356        –        APL7940000082378
               APL7940000102312        –        APL7940000102332

             APL-ITC796-0000508285     –    APL-ITC796-0000508544

               APLNDC00004618          –         APLNDC00004736
              APLNDC0000036172         –        APLNDC0000036570
              APLNDC0001324274         –        APLNDC0001324278
              APLNDC0001867475         –        APLNDC0001867477
              APLNDC0002007608         –        APLNDC0002007704
              APLNDC0002420480         –        APLNDC0002420484
              APLNDC0002831037         –        APLNDC0002831088

              APLNDC-X0000006548       –    APLNDC-X0000006647
              APLNDC-Y0000023361       –    APLNDC-Y0000023907
              APLNDC-Y0000024130       –    APLNDC-Y0000024333
              APLNDC-Y0000025024       –    APLNDC-Y0000025147
              APLNDC-Y0000025460       –    APLNDC-Y0000025574
              APLNDC-Y0000026687       –    APLNDC-Y0000026807
              APLNDC-Y0000027136       –    APLNDC-Y0000027422
              APLNDC-Y0000027506       –    APLNDC-Y0000027599
              APLNDC-Y0000028850       –    APLNDC-Y0000028945
              APLNDC-Y0000408237


              SAMNDCA00176053          –        SAMNDCA00176171
              SAMNDCA00190144          –        SAMNDCA00190243
              SAMNDCA00201771
              SAMNDCA00201773
              SAMNDCA00203016
              SAMNDCA00203033
              SAMNDCA00203880          –        SAMNDCA00204010
              SAMNDCA00231459          –        SAMNDCA00231502
              SAMNDCA00237743          –        SAMNDCA00237772
              SAMNDCA00237973
              SAMNDCA00249929          –        SAMNDCA00250017
              SAMNDCA00250503          –        SAMNDCA00250557
              SAMNDCA00250682          –        SAMNDCA00250709
              SAMNDCA00252685          –        SAMNDCA00252775
              SAMNDCA00258674          –        SAMNDCA00258827
              SAMNDCA00261725          –        SAMNDCA00261839
              SAMNDCA00268352          –        SAMNDCA00268384
              SAMNDCA00268763          –        SAMNDCA00268831
              SAMNDCA00276935          –        SAMNDCA00277043
              SAMNDCA00380801          –        SAMNDCA00380896


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                                                Bates Range (cont.)

                              SAMNDCA00508313            –        SAMNDCA00508411
                              SAMNDCA10029586            –        SAMNDCA10029680
                              SAMNDCA10036081            –        SAMNDCA10036204
                              SAMNDCA10175266            –        SAMNDCA10175267
                              SAMNDCA10246338            –        SAMNDCA10246445
                              SAMNDCA10257309            –        SAMNDCA10257380
                              SAMNDCA10389445            –        SAMNDCA10389483
                              SAMNDCA10441301            –        SAMNDCA10441303
                              SAMNDCA10807316            –        SAMNDCA10807387
                              SAMNDCA10853181            –        SAMNDCA10853233
                              SAMNDCA11039743            –        SAMNDCA11039807
                              SAMNDCA11053867            –        SAMNDCA11053901
                              SAMNDCA11066185            –        SAMNDCA11066252
                              SAMNDCA11104115            –        SAMNDCA11104139
                              SAMNDCA11374409            –        SAMNDCA11374410
                              SAMNDCA11545927            –        SAMNDCA11546000
                              SAMNDCA20018416            –        SAMNDCA20018417

                                S-ITC-003353288          –         S-ITC-003353507
                                S-ITC-010632298          –         S-ITC-010632332
                                S-ITC-500047393          –         S-ITC-500047452
                                S-ITC-500049452
                                S-ITC-500054991          –         S-ITC-500054998
                                S-ITC-500056374          –         S-ITC-500056457
                                S-ITC-500057690          –         S-ITC-500057758


Legal Documents:
Addendum to Apple Inc.'s Disclosure of Asserted Claims & Infringement Contentions, August 26, 2011.
Amended Verdict Form, August 24, 2012.
Apple Inc.'s Disclosure of Asserted Claims & Infringement Contentions, August 26, 2011, with Exhibits 4–6 and
    10–15.
Apple's Motion for a Permanent Injunction and for Damages Enhancements, September 21, 2012.
Declaration of Andries van Dam, Ph.D., October 18, 2012.
Declaration of Marylee Robinson in Support of Apple's Motions for a Permanent Injunction, for Damages
    Enhancement, for Supplemental Damages, and for Prejudgment Interest, September 21, 2012, with Exhibits 9,
    25–29, and 31.
Declaration of Stephen Gray, October 18, 2012.
Declaration of Terry Musika in Support of Apple's Motion for Permanent Injunction, August 29, 2012, with Exhibits
    30, 31, 50, 51, 53–61, and 64–68.
Declaration of Yoram (Jerry) Wind, October 19, 2012, with Appendices and Exhibits.
Joint Pretrial Statement and Proposed Order, July 5, 2012.
Manual Filing Notification of Exhibit 32 to the Declaration of Marylee Robinson in Support of Apple's Motions for
    a Permanent Injunction, for Damages Enhancement, for Supplemental Damages, and for Prejudgment Interest,
    September 21, 2012.
Plaintiff’s Exhibits 30, 38, 46, 57, 69, 145, 146, and 185.
Transcript of Proceedings, Apple v. Samsung C-11-01846-LHK, August 10, 2012, Vol. 6.

Depositions:
Deposition of Philip Schiller, February 17, 2012.
Deposition of Steven Sinclair, April 4, 2012.

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Expert Reports:
Expert Report of John R. Hauser, March 22, 2012, with Exhibits A–K and supporting documents.
Expert Report of Russel S. Winer, March 22, 2012.

Articles and Books:
"iPhone vs. Android," NielsenWire, available at http://blog.nielsen.com/nielsenwire/online_mobile/iphone-vs-
     android (viewed October 9, 2012).
Aaker, David A. (1991). Managing Brand Equity. New York: The Free Press.
Erdem, Tülin (1998), “An Empirical Analysis of Umbrella Branding,” Journal of Marketing Research, 35 (3), 339-
     351.
Jessica E. Vascellaro, “Apple Wins Big in Patent Case,” The Wall Street Journal (August 25, 2012).
Kotler, Philip (1997). Marketing Management. New Jersey: Prentice Hall.
Lancaster, Kelvin (1966), “A New Approach to Consumer Theory,” Journal of Political Economy, 74, 132-157.
Lilien, Gary L. Philip Kotler and K. Sridhar Moorthy (1992), Marketing Models, New Jersey: Prentice Hall.
Payne, J.W. (1976), “Task Complexity and Contingent Processing in Decision-Making: An Information Search and
     Protocol Analysis,” Organizational Behavior and Human Performance, 16, 366-387.
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